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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                       MONROE DIVISION

  UNITED STATES OF AMERICA                         *     CRIMINAL NO. 15-0133-02


  VERSUS                                           *     JUDGE ROBERT G. JAMES


  APRIL M. AUGUSTINE                               *     MAG. JUDGE KAREN L. HAYES

                  REPORT AND RECOMMENDATION ON
   FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Upon reference of the District Court pursuant to 28 U.S.C. § 636(b), and with the written

 and oral consent of the defendant, this cause came before the undersigned U. S. Magistrate Judge

 on January 26, 2016, for administration of guilty plea and allocution of the defendant, April

 Augustine, under Rule 11 of the Federal Rules of Criminal Procedure. Defendant was present

 with her counsel, Ms. Betty Marak.

        After said hearing, it is the finding of the undersigned that the defendant is fully

 competent, that her plea of guilty is knowing and voluntary, and her guilty plea to Count One of

 the Superseding Indictment is fully supported by a written factual basis for each of the essential

 elements of the offense. In addition, both the government and the defendant have waived their

 right to object to the report and recommendation. Accordingly,

        IT IS RECOMMENDED that the District Court ACCEPT the guilty plea of the

 defendant, April Augustine, in accordance with the terms of the plea agreement filed in the

 record of these proceedings, and that April Augustine be finally adjudged guilty of the offense

 charged in Count One of the Superseding Indictment.

        IT IS FURTHER RECOMMENDED that, pursuant to the parties’ waiver of their right to
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 object, that the District Court immediately adopt the report and recommendation without passage

 of the customary delays.

        In Chambers, at Monroe, Louisiana, this 26th day of January 2016.



                                                    __________________________________
                                                    KAREN L. HAYES
                                                    UNITED STATES MAGISTRATE JUDGE
